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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

Denise Ernul                        )
                                    )              C.A. No.: 6:21-cv-1842-TMC
                     Plaintiff,     )
                                    )
      v.                            )                 NOTICE OF APPEAL
                                    )
Appalachian Council of Governments, )
                                    )
                     Defendant.     )
___________________________________ )

       Notice is hereby given that, Denise Ernul, Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Fourth Circuit the October 18,

2022, Judgment for Defendant of the Honorable Timothy M. Cain granting Defendant’s Motion

to Dismiss on the grounds of Plaintiff’s alleged failure to fully cooperate in discovery.

                                                      s/Peter A. Rutledge, Esq.
                                                      Peter A. Rutledge, Esq.
                                                      Federal Bar # 7185
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November 17, 2022                                     ATTORNEYS FOR PLAINTIFF




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